             Case 2:07-cr-00025-WBS Document 467 Filed 10/12/16 Page 1 of 3


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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:07-CR-00025-14 WBS
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           [PROPOSED] FINDINGS AND ORDER
14   ZHI YONG LIN,                                      DATE: October 17, 2016
                                                        TIME: 9:00 a.m.
15                               Defendant.             COURT: Hon. William B. Shubb
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on October 17, 2016.

21          2.     By this stipulation, defendant now moves to continue the status conference until

22 November 14, 2016, and to exclude time between October 17, 2016, and November 14, 2016, under

23 Local Code T4.

24          3.     The parties agree and stipulate, and request that the Court find the following:

25                 a)      The government has represented that the discovery associated with this case

26          includes over 3000 pages of agent reports, documents, and other evidentiary items. All of this

27          discovery has been either produced directly to counsel and/or made available for inspection and

28          copying. The government is in the process of copying a number of videos and photographs that


      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:07-cr-00025-WBS Document 467 Filed 10/12/16 Page 2 of 3


 1          will be produced to the defendant in the coming weeks. Additionally, on October 10, 2016, the

 2          defendant requested additional discovery materials from the government, including, among other

 3          things, witness testimony from the trial of a co-defendant in this case that occurred in

 4          approximately 2011, which will take time to obtain and provide.

 5                 b)      Counsel for defendant desires additional time to consult with the defendant about

 6          the current charges, to perform research related to the charges and the potential immigration

 7          consequences therefrom, to review the discovery already provided and that which is

 8          forthcoming, and to perform further investigation related to the charges.

 9                 c)      Counsel for defendant believes that failure to grant the above-requested

10          continuance would deny him/her the reasonable time necessary for effective preparation, taking

11          into account the exercise of due diligence.

12                 d)      The government does not object to the continuance.

13                 e)      Based on the above-stated findings, the ends of justice served by continuing the

14          case as requested outweigh the interest of the public and the defendant in a trial within the

15          original date prescribed by the Speedy Trial Act.

16                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

17          et seq., within which trial must commence, the time period of October 17, 2016 to November 14,

18          2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

19          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

20          of the Court’s finding that the ends of justice served by taking such action outweigh the best

21          interest of the public and the defendant in a speedy trial.

22          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

23 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

24 must commence.

25          IT IS SO STIPULATED.

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      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:07-cr-00025-WBS Document 467 Filed 10/12/16 Page 3 of 3

     Dated: October 11, 2016                        PHILLIP A. TALBERT
 1                                                  Acting United States Attorney
 2
                                                    /s/ HEIKO P. COPPOLA
 3                                                  HEIKO P. COPPOLA
                                                    Assistant United States Attorney
 4

 5
     Dated: October 11, 2016                        /s/ MICHAEL LONG
 6                                                  MICHAEL LONG
 7                                                  Counsel for Defendant
                                                    ZHI YONG LIN
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11                                            ORDER

12         IT IS SO FOUND AND ORDERED.

13 Dated: October 11, 2016

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      STIPULATION REGARDING EXCLUDABLE TIME     3
30    PERIODS UNDER SPEEDY TRIAL ACT
